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        12.     On June 20, 2021, Patel dropped off $63,170 in cash with an individual referred to
as "Babu." The cash constituted proceeds of fraud
                                                .              This money was recovered by law

enforcement.

        13.     Patel's handlers sent an initial payment to him, addressed to his then-girlfriend, on

May 26, 2021. Patel's handlers thereafter paid him based on a percentage of the cash he picked

up. In addition, Patel would also have a cash "balance" at any given time-money he had picked

up but not yet dropped off. This balance was about $29,000.00 in cash when Patel was arrested.

The $29,000 was not recovered by law enforcement.

        14.     The indictment in this case was filed August 3, 2021. On August 12, 2021, Patel's

then- girlfriend purchased a new 2021 Mustang for $54,995.00 and put $12,000 cash down.

        15.     On August 18, 2021, scammers instructed a victim in Pennsylvania to send a FedEx

package containing about $9,999.99 in cash to Patel's apartment address in Florida. The package

was intercepted before it arrived.

        16.     Venue in this suit is proper in the Southern District of Illinois because victim E.R.

resides in the Southern District of Illinois.



SO STIPULATED:

                                                RACHELLE AUD CROWE
                                                U.S. Attorney
                                                Southern District of Illinois

                                                                                   6/21/2022
JAYKUMAR PATEL                                  PETER T. REED
Defendant                                       Assistant United States Attorney




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